Case 2:O4-cr-20335-.]DB Document 44 Filed 05/25/05 Page 1 of 2 Page|D 44

|N THE UN|TED STATES D|STR|CT COUFlT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DIV|S|ON

 

 

UN|TED STATES OF AMER|CA
P|aintiff

VS.
CR. NO. 04-20335-B

JEREMY DOWDY

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELA\’
AND SETT|NG

 

This cause came on for a report date on Apri| 25, 2005. At that time, the Court
granted a continuance pending defendants |Vlotion to Suppress. A |Vlotion Hearing/Fieport
Date was set for Nlay 19, 2005, and subsequently re-set to June 2, 2005.

The Court has granted the Defendant’s Nlotion to Continue and re-set the

Suppression HearingLReport Date tor Wednesday June 22,l 2005 at 2:00 Q.m., in
Courtroom 1. 11th Floor of the Federa| Bui|ding, N|emphis, TN.

 

The period from |Vlay 13, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional time to

prepare outweigh the need for a speedy tria|.

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iTlssooaDEaEDtms 25 day ay,2005.

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ED sTATEs DlsTn:cT JuDG.E

Thls document entered on the docket sheet in compliance
- :, ,
with Rule 55 and/or 32(b) FHCrP on 5 id 05 __

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20335 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

